   Case
    Case1:18-cv-00337-WJM-KMT
         1:18-cv-00337-WJM-KMT Document
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                          District
                                                    __________     of Colorado
                                                               District of __________

           CHRISTOPHER P. SWEENEY; and                                 )
                NIKOLE M. SWEENEY                                      )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 1:18-cv-337-WJM
                                                                       )
   CITY OF COLORADO SPRINGS, COLORADO;                                 )
    STETSON HILLS MASTER HOME OWNERS                                   )
            ASSOCIATION, INC.; and                                     )
  DIVERSIFIED PROPERTY MANAGEMENT, LLC.                                )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Diversifed Property Management, LLC




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Julian G.G. Wolfson
                                           1630 Welton Street #413
                                           Denver, CO 80202




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:             02/12/2018                                                                        s/ R. Rogers
                                                                                           Signature of Clerk or Deputy Clerk
